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                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA

17-cv-02162-EMC         Food & Water Watch, Inc. v. Environmental Protection Agency

                                      EXHIBIT and WITNESS LIST

JUDGE:                               PLAINTIFF ATTORNEYS:                 DEFENSE ATTORNEYS:
                                     Michael Connett, Andy Waters,        Debra Carfora, Brandon Adkins,
Edward M. Chen
                                     Chris Nidel                          John Do, Simi Bhat
BENCH TRIAL DATE:                    REPORTER:                            CLERK:
June 8, 2020                         Debra Pas                            Angella Meuleman

PLF   DEF   DATE/TIME               EVI.
NO.   NO    OFFERED          ID     REC    DESCRIPTION                                                  BY
            8:00 a.m.                      Court in session. Housekeeping matters discussed as stated
                                           on the record.
            8:05 a.m.                      Opening statement conducted by Plaintiff’s counsel,
                                           Michael Connett.
            8:36 a.m.                      Opening statement concludes.
            8:36 a.m.                      Opening statement conducted by Defense counsel, John
                                           Do.
            9:00 a.m.                      Opening statement concludes.
            9:00 a.m.                      Video deposition of Joyce Donohue, Ph.D.displayed with
                                           examination of witness by Michael Connett.
            9:27 a.m.                      Court in recess.
            9:40 a.m.                      Court reconvened. Dr. Howard Hu promoted to the
                                           virtual well of the Court and sworn for testimony. Direct
                                           examination of witness by Charles Andy Waters.
33A                          X      X      Regulatory Impact of Clean Air Mercury Rule.
            10:49 a.m.                     Court in recess.
            10:57 a.m.                     Court reconvened. Cross-examination of witness by
                                           Brandon Adkins.
            12:00 p.m.                     Court adjourned for the day. Parties to return tomorrow
                                           morning at 8:00 A.M.




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